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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA




In re EpiPen ERISA Litigation                         Case No. 0:17-1884-PAM-SER




DEFENDANTS OPTUM, INC., OPTUMRX, INC., OPTUMRX HOLDINGS, LLC,
             UNITED HEALTHCARE SERVICES, INC.,
 AND UNITEDHEALTH GROUP INCORPORATED’S MOTION TO DISMISS

       Defendants Optum, Inc., OptumRx, Inc., OptumRx Holdings, LLC, United

HealthCare Services, Inc., and UnitedHealth Group Incorporated, by and through their

undersigned counsel, respectfully move to dismiss with prejudice all claims asserted

against them in the Consolidated Class Action Complaint in the above-referenced action.

       This Motion is made pursuant to Rule 12(b)(1) and Rule 12(b)(6) of the Federal

Rules of Civil Procedure on grounds that Plaintiffs lack Article III standing, and thus this

Court has no subject-matter jurisdiction over their claims; the Complaint fails to plead a

plausible claim; and the Complaint fails to state a claim upon which relief may be

granted.

       This Motion is based upon all the files and records herein, including Defendants’

Combined Memorandum of Law in Support of Their Motions to Dismiss and all exhibits

and declarations thereto, as well as the arguments of counsel.




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                                         UnitedHealth Group Inc.




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